        Case 1:20-cv-01814-JLT-EPG Document 143-2 Filed 02/07/23 Page 1 of 6



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 7

 8                           UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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     HOOPA VALLEY TRIBE,                            )   Civ. No. 1:20-cv-1814-JLT-EPG
11                                                  )
12         Plaintiff,                               )
                                                    )   THIRD DECLARATION OF
13         v.                                       )   MICHAEL ORCUTT IN SUPPORT
                                                    )   OF PLAINTIFF’S MOTION FOR
14   UNITED STATES BUREAU OF                        )   PRELIMINARY INJUNCTION
     RECLAMATION; DEBRA ANNE HAALAND,               )
15
     in her official capacity as Secretary of the   )   Date: February 13, 2023
16   Interior; MARIA CAMILLE CALIMLIM               )   Time: 9:00 AM
     TOUTON, in her official capacity as            )   Courtroom: 4 – 7th floor, Fresno
17   Commissioner of the United States Bureau of    )   Hon. Jennifer L. Thurston
     Reclamation; ERNEST A. CONANT, in his          )
18   official capacity as United States Bureau of   )
     Reclamation California-Great Basin Regional    )
19
     Director; and UNITED STATES                    )
20   DEPARTMENT OF THE INTERIOR                     )
                                                    )
21         Defendants.                              )
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     THIRD DECLARATION OF MICHAEL ORCUTT RE
     PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 1
          Case 1:20-cv-01814-JLT-EPG Document 143-2 Filed 02/07/23 Page 2 of 6



 1          I, Michael Orcutt state and declare as follows:

 2          1.      I am a fisheries biologist and an enrolled member of the Hoopa Valley Tribe

 3   (Tribe). I am presently employed by the Tribe, located on the Hoopa Valley Indian Reservation

 4   in Northern California, where I continue my tenure of over 35 years as Director of the Fisheries

 5   Department.

 6          2.      In my work with the Hoopa Valley Tribe Fisheries Department, and in my role as

 7   Fisheries Director, I am intimately involved and have substantial personal knowledge of fisheries

 8   management issues in the Trinity River Basin, including operations of the Trinity River
 9   Restoration Program (TRRP) and Trinity Management Council (TMC), and implementation of
10   the 2000 Trinity River Record of Decision (ROD). My professional duties include representing
11   the Hoopa Valley Tribe before state and federal agencies and the U.S. Congress in matters
12   involving restoration of the Trinity River fishery. I also have fished and hunted on the Hoopa
13   Valley Reservation for most of my life and I have witnessed the devastation that the Trinity
14   River Division of the CVP has had on the fishery resources that the Hupa People have depended
15   upon since time immemorial.
16          3.      I have previously submitted declarations in this proceeding on December 16, 2022
17   (filed at Dkt. #109), and on January 9, 2023 (filed at Dkt. #120-1), both of which remain true and
18   correct and which I incorporate herein by reference. I submit this third declaration to address

19   issues presented in Hoopa’s Amended Motion for Preliminary Injunction, or TRO.

20          4.      I have been involved in implementation of the Trinity River Restoration Program

21   (TRRP) and the workings of the Trinity Management Council (TMC) since their inception.

22   Based on my decades of personal experience, I can report that the Trinity River Winter Flow

23   Variability Project (WFV Project) and its proposed shifting of substantial amounts of water

24   releases from Spring/Summer months to Winter months is without precedent in the history of the

25   TRRP and implementation of the ROD.

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     THIRD DECLARATION OF MICHAEL ORCUTT RE
     PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 2
          Case 1:20-cv-01814-JLT-EPG Document 143-2 Filed 02/07/23 Page 3 of 6



 1          5.      The Trinity River ROD mandates a consistent winter base flow of 300 cubic feet

 2   per second (cfs) in all types of water years from October 16 through April 1. Until now, the

 3   Bureau of Reclamation has strictly adhered to this winter base flow schedule until the water year

 4   type designation occurs on April 1 of each year. To be clear, there has never been any

 5   modification or alteration of winter base flows since ROD implementation began.

 6          6.      The water year type (i.e., extremely wet, wet, normal, dry, critically dry) is not

 7   designated until April 1 of each year. Thus, shifting water that is intended for use after April 1 to

 8   earlier winter months presents a significant risk that there will not be sufficient water available
 9   for intended fishery purposes in later Spring/Summer months. Moreover, utilizing the TRD
10   water supply earlier in the summer months will cause Trinity River water temperatures to heat up
11   earlier in June to early August under the WFV proposal than the ROD release schedules and
12   impede in spring run chinook salmon migration, a species currently under review for potential
13   listing under the Federal ESA, by trapping them in thermal refugia.
14          7.      The contention that such a significant and substantive revision to the flows

15   prescribed in the ROD could qualify as a mere refinement in the name of adaptive management

16   is incorrect and contradicted by the ROD itself. Page 12 of the ROD (discussing the flow

17   regime) states: “Based on subsequent monitoring and studies guided by the Trinity Management

18   Council, the schedule for releasing water on a daily basis, according to that year’s hydrology,

19   may be adjusted but the annual flow volumes established in Table 1 may not be changed.”

20   (emphasis added). In the preceding paragraph, the ROD states that the “annual hydrology

21   (water-year type) [is] determined as of April 1st of each year.” Thus, the ROD itself is clear that

22   no changes to the flow schedule can be made, even in the name of adaptive management, until

23   after April 1 when the year’s hydrology type is known.

24          8.      In my experience, the ROD has always been implemented consistent with the

25   ROD prescriptions described above so that any refinements to annual flow schedules only occur

26   after April 1 when the water year type is known. There have never been modifications to the

     THIRD DECLARATION OF MICHAEL ORCUTT RE
     PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 3
          Case 1:20-cv-01814-JLT-EPG Document 143-2 Filed 02/07/23 Page 4 of 6



 1   winter base flows prescribed prior to April 1, until now. And there never has been a proposal to

 2   shift substantial water intended for post-April 1 uses to winter months – foreclosing the

 3   availability of water necessary in Spring/Summer. The WFV Project is a significant

 4   modification of the ROD.

 5          9.      The contention that the WFV Project’s substantial modification in flows is

 6   comparable to adaptive management of sediment management or watershed restoration under the

 7   ROD is not correct. Unlike the daily flow schedule prescribed in Appendix B of the ROD, the

 8   ROD does not contain comparably detailed prescriptions for the other restoration components
 9   like sediment management and watershed restoration.
10          10.     Moreover, as described by the TRRP (https://www.trrp.net/program-
11   structure/adaptive-management/), Adaptive Environmental Assessment and Management (AEAM)

12   is component of the TRRP that provides “interdisciplinary information for developing and testing

13   hypotheses regarding how the river is responding to restoration work undertaken by the TRRP . . .

14   The adaptive management process is systematically repeated through time as management actions

15   are adjusted to benefit the Trinity River and its fisheries.” Hoopa concurred in the AEAM

16   component aspect of the TRRP because of its fundamental scientific importance to the long-term

17   integrity of the TRRP and the fishery restoration outcomes required by Congress and needed by

18   Hoopa. However, a 2017 independent evaluation of Reclamation’s performance regarding

19   AEAM (Headwater Corporation. 2017. Final Report – Trinity River Restoration Program)

20   concluded that AEAM has not functioned as planned. Rather than address needed AEAM

21   refinements, Reclamation now uses the appearance of AEAM process to justify the WFV

22   Project.

23          11.     The action at issue here (the WFV Project) is unprecedented and, based on my

24   decades of experience working on implementing the ROD, is not consistent with the ROD. The

25   WFV Project is a decision by the Department of the Interior/Reclamation to modify the ROD

26   and its prescribed daily flow schedules that are the product of decades of comprehensive

     THIRD DECLARATION OF MICHAEL ORCUTT RE
     PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 4
          Case 1:20-cv-01814-JLT-EPG Document 143-2 Filed 02/07/23 Page 5 of 6



 1   scientific analysis. Such modification of the ROD, which the WFV Project is, requires the

 2   concurrence of the Hoopa Valley Tribe.

 3          I declare under penalty of perjury under the laws of the United States of America that the

 4   foregoing statements are true and correct.

 5          DATED this 7th day of February, 2023.

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 7                                        ______________________________________

 8                                        Michael W. Orcutt, Fisheries Department Director

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     THIRD DECLARATION OF MICHAEL ORCUTT RE
     PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 5
          Case 1:20-cv-01814-JLT-EPG Document 143-2 Filed 02/07/23 Page 6 of 6



 1                                   CERTIFICATE OF SERVICE

 2
            I hereby certify that on February 7, 2023, I electronically filed the foregoing with the
 3
     Clerk of the Court using the CM/ECF system, which will send notification of such to the
 4
     attorneys of record.
 5

 6
                                                          /s/ Thane D. Somerville
 7                                                        Thane D. Somerville

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     THIRD DECLARATION OF MICHAEL ORCUTT RE
     PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 6
